Case 1:22-mj-00115-KLM Document 1-2 Filed 07/03/22 USDC Colorado Page 1 of 1




 DEFENDANT:            TORY SHANE SMART

 YOB/AGE:              1982

 COMPLAINT             ______ Yes      ____x___ No
 FILED?
                       If Yes, MAGISTRATE CASE NUMBER_____________

 OFFENSE(S):           (1) 18 U.S.C. § 922(g)(1), Prohibited Person in Possession of
                       Firearm/Ammunition
                       (2) 21 U.S.C. § 841(a)(1), (b)(1)(C), Possession with intent to distribute a
                       controlled substance
 LOCATION OF
 OFFENSE:              Routt County, Colorado

 PENALTY:              (1) NMT 10 years imprisonment, NMT $250,000 fine or both; NMT 3
                       years supervised release; if the sentencing enhancement in 18 U.S.C.
                       § 924(e) applies, then NLT 15 years imprisonment, NMT $250,000 fine, or
                       both; NMT 5 years supervised release; $100 special assessment.
                       (2) NMT 20 years’ imprisonment; NMT $1,000,000 fine; NLT 3 years SR;
                       NMT life SR; $100 SA

 AGENT:                United States Forest Service SA John Dalen Bunch


 AUTHORIZED            Andrea Surratt
 BY:                   Assistant U.S. Attorney


ESTIMATED TIME OF TRIAL:


 x   five days or less ____ over five days

THE GOVERNMENT

X will seek detention in this case based on 18 U.S.C. § 3142(f)(1)

The statutory presumption of detention is applicable to this defendant.




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